Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 1 of 15




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                     Case N o . - - - - - - - - -


       UNITED STATES OF AMERICA

              v.                                                    FILED UNDER SEAL

       ALEJANDRO ANDRADE CEDENO,

              Defendant.
       --------------------~/
                                            PLEA AGREEMENT

              The United States Department of Justice, Criminal Division, Fraud Section and the United

       States Attorney's Office for the Southern District of Florida (collectively, the "Govemment") and

       ALEJANDRO ANDRADE CEDENO (hereinafter referred to as the "defendant") enter into the

       following agreement:

              1.      The defendant understands that he has the right to have the evidence and charge

       against him presented to a federal grand jury for determination of whether there is probable cause

       to believe he committed the offense for which he is charged. Understanding that right, and after

       full and complete consultation with his counsel, the defendant agrees to waive in open court his

       right to prosecution by Indictment, agrees to waive any challenges to the statute of limitations or

       venue, and agrees that the Government may proceed by way of an Information filed pursuant to

       Rule 7 ofthe Federal Rules of Criminal Procedure.

              2.      The defendant agrees to plead guilty to a single-count Information, which charges

       the defendant with conspiracy to violate Title 18, United States Code, Section 1957, that is, to

       knowingly engage and attempt to engage in monetary transactions by, through, or to a financial

       institution, affecting interstate and foreign commerce, in criminally derived property of a value
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 2 of 15




       greater than $10,000, such property having been derived from a specified unlawful activity (i.e. a

       violation of the Foreign Corrupt Practices Act ("FCPA"), in violation of Title 15, United States

       Code, Section 78dd-3) in violation ofTitle 18, United States Code, Section 1956(h).

               3.     The defendant is aware that the sentence will be imposed by the Court after

       considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter

       "Sentencing Guidelines"). The defendant acknowledges and understands that the. Court will

       compute an advisory sentence under the Sentencing Guidelines and that the applicable guidelines

       will be determined by the CouJ1 relying in part on the results of a pre-sentence investigation by the

       Court's probation office, which investigation will commence after the guilty plea has been entered.

       The defendant is also aware that, under certain circumstances, the Court may depart from the

       advisory Sentencing Guidelines range that it has computed, and may raise or lower that advisory

       sentence under the Sentencing Guidelines. The defendant is further aware and understands that

       the Court is required to consider the advisory guideline range determined under the Sentencing

       Guidelines, but is not bound to impose a sentence within that advisory range; the Court is permitted

       to tailor the ultimate sentence in light of other statutory concerns, and such sentence may be either

       more severe or less severe than the Sentencing Guidelines' advisory range. Knowing these facts,

       the defendant understands and acknowledges that the Court has the authority to impose any ·

       sentence within and up to the statutory maximum authorized by law for the offense identified in

       paragraph two and that the defendant may not withdraw his plea solely as a result of the sentence

       imposed.

              4.      The defendant also understands and acknowledges that the Court may impose a

       statutory maximum term of imprisonment of up to ten years, followed by a term of supervised

       release of up to three years. In addition to a term of imprisonment and supervised release, the

                                                        2
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 3 of 15




       Court may impose a fine of up to $250,000 or not more than twice the amount of the criminally

       derived propetiy involved in the transaction relating to the offense set forth in paragraph two

       above, and the Com1 may also order forfeiture and restitution.

               5.     The defendant further understands and acknowledges that, in addition to any

       sentence imposed under paragraph three of this agreement, a special assessment in the amount of

       $100 will be imposed on the defendant.         The defendant agrees that any special assessment

       imposed shall be paid at the time of sentencing. If the defendant is financially unable to pay the

       special assessment, the defendant agrees to present evidence to the Government and the Court at

       the time of sentencing as to the reasons for the defendant's failure to pay.

              6.      The Government reserves the right to inforrri the Court and the probation office of

       all facts pertinent to the sentencing process, including all relevant information concerning the

       offenses committed, whether charged or not, as well as conceming the defendant and the

       defendant's background.     Subject only to the express terms of any agreed-upon sentencing

       recommendations contained in this agreement, the Government further reserves the right to make

       any recommendation as to the quality and quantity of punishment.

              7.      The Government agrees that it will recommend at sentencing that the Court reduce

       by two levels the Sentencing Guidelines level applicable to the defendant's offense, pursuant to

       Section 3El.l(a) of the Sentencing Guidelines, based upon the defendant's recognition arid
          I

       affirmative and timely acceptance of personal responsibility. If, at the time of sentencing the

       defendant's offense level is determined to be 16 or greater, the Govemment will file a motion

       requesting an additional one level decrease pursuant to Section 3El.l(b) of the Sentencing

       Guidelines, stating that the defendant has assisted authorities in the investigation or prosecution of

       the defendant's own misconduct by timely notifying authorities of the defendant's intention to

                                                         3
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 4 of 15




       enter a plea of guilty, thereby permitting the Government to avoid preparing for trial and permitting

       the Government and the Court to allocate their resources efficiently. The Government, however,

       will not be required to make this motion and this recommendation if the, defendant: (a) fails or

       refuses to make a full, accurate and complete disclosure to the probation office of the

       circumstances   s~rrounding   the relevant offense conduct; (b) is found to have misrepresented facts

       to the Government prior to entering into this plea agreement; or (c) commits any misconduct after

       entering into this plea agreement, including, but not limited to, committing a state or federal

       offense, violating any term of release, or making false statements or misrepresentations to any

       governmental entity or official.

              8.       The defendant agrees that he shall cooperate fully with the Government by: (a)

       providing truthful and complete information and testimony, and producing documents, records and

       other evidence, when called upon by the Government, whether in interviews, before a grand jury,

       or at any trial or other Court proceeding; (b) appearing at such grand jury proceedings, hearings,

       trials, and other judicial proceedings, and at meetings, as may be required by the Government; and

       (c) if requested by the Govemment, working in an undercover role under thesupervision of, and

       in compliance with, law enforcement officers and agents. In addition, the defendant agrees that

       he will not protect any person or entity through false information or omission, that he will not

       falsely implicate any person or entity, and that he that he will not commit any further crimes.

              9.       The Government reserves the right to evaluate the nature and extent of the

       defendant's cooperation and to make that cooperation, or lack thereof, known to the Court at the

       time of sentencing. If in the sole and unreviewable judgment of the Government, the defendant's

       cooperation is of such quality and significance to the investigation or prosecution of other criminal

       matters as to warrant the Court's downward departure from the advisory sentencing range

                                                         4
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 5 of 15




       calculated under the Sentencing Guidelines and/or any applicable minimum mandatory sentence,

       the Government may make a motion prior to sentencing pursuant to Section 5Kl.1 of the

       Sentencing Guidelines and/or Title 18, United States Code, Section 3553(e), or subsequent to

       sentencing pursuant to Rule 35 ofthe Federal Rules of Criminal Procedure, informing the Court

       that the defendant has provided substantial assistance and recommending that the defendant's

       sentence be reduced.    The defendant understands and agrees, however, that nothing in this

       agreement requires the Government to file any such motions, and that the Government's

       assessment of the quality and significance of the .defendant's cooperation shall be binding as it

       relates to the appropriateness of the Government's filing or non-filing of a motion to reduce

       sentence.

              10.     The defendant understands and acknowledges that the Court is under no obligation

       to grant a motion for reduction of sentence filed by the Government. In addition, the defendant

       further understands and aclmowledges that the Comt is under no obligation of any type to reduce

       the defendant's sentence because of the defendant's cooperation.

              11.     The defendant agrees to forfeit to the United States voluntarily and immediately all

       property, real or personal, involved in the violation of Title 18, United States Code, Section

       1956(h) charged in the Information, property traceable to such property, and/or property that
                                                    \
       constitute substitute assets, pursuant to Title 18, United States Code, Section 982(a)(1) and Title

       21, United States Code, Section 853(p). The defendant agrees that such property includes, but is

       not limited to, a sum equal in value to the total amount laundered to, by, and/or for the benefit of

       the defendant as part of the charged conspiracy, which the United States may seek as a forfeiture

       money judgment. The defendant agrees to consent to the entry of orders of forfeiture for such

       property. The defendant admits and agrees that the conduct described in the Information and

                                                        5
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 6 of 15




       Factual Proffer provides a sufficient factual and statutory basis for the forfeiture sought by the

       Government.

               12.       The defendant agrees to waive any appeal ofthe forfeiture. The defendant waives

       the requirements of Rules 32.2 and 43(a) of the Federal Rules of Criminal Procedure regarding

       notice of the forfeiture in the Information, announcement of the forfeiture at sentencing, and

       incorporation of the forfeiture in the judgment. The defendant also waives any failure by the

       Court to advise the defendant of any applicable forfeiture at the time the guilty plea is accepted as

       required by Rule lt(b)(l)(J) of the Federal Rules of Criminal Procedure. The defendant further

       agrees to waive any applicable time limits for the initiation of administrative or judicial forfeiture

       proceedings and/or further notification of any such forfeiture brought against the property sought

       for forfeiture.

               13.       The defendant also agrees to assist the Government in all proceedings,

       administrative or judicial, involving forfeiture to the United States of any property, including

       substitute property, regardless of its nature or form, real or personal, which the defendant or others

       known to the defendant, have accumulated as a result of illegal activities. The defendant agrees

       that the United States shall, at its option, be entitled to forfeiture of any prope~ (substitute assets)

       of the defendant to satisfy the forfeiture money judgment The defendant agrees that all elements

       ofTitle 21, United States Code, Section 853(p) have been satisfied. The defendant further agrees

       to take all steps necessary to locate property that could be used to satisfy the forfeiture money

       judgment and to pass title to the United States before the defendant's sentencing. To that end, the

       defendant agrees to fully assist the Government in the recovery and return to the United States of

       any assets, or portions thereof, wherever located. The assistance shall include: identification of

       any property subject to forfeiture, agreement to the entry of an order enjoining the transfer or

                                                          6
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 7 of 15




       encumbrance of such property, and the transfer or repatriation of such property to the United States

       by delivery to the Government, upon the Government's request, any necessary and appropriate

      . documentation, including consents to forfeiture and quit claim deeds, to         d~liver   good and

       marketable title to such property. The defendant understands that failure to transfer or repatriate

       property subject to forfeiture may result in an obstruction of justice enhancement at sentencing.

               14.    The defendant further understands that forfeiture is independent of any

       assessments, fines, costs, restitution, or any other penalty that may be imposed by the Court. The

       defendant knowingly and voluntarily waives any claim or defense he may have under the Eighth

       Amendment to the United States Constitution, including any claim of excessive fine or penalty

       with respect to the forfeited property.

              15.     The defendant agrees to make full and accurate disclosure of his financial affairs to

       the Government, and expressly authorizes the Government to obtain a credit report.              The

       defendant agrees that within 45 calendar days of his change of plea and upon request of the

       Government, the defendant shall submit a completed Financial Disclosure Statement (form

       provided by the United States), and shall fully disclose and identify all assets in which he lias any

       interest and/ot over which the defendant exercises control, directly or indirectly, including those

       held by a spouse, nominee, or other third party.

              16.     The defendant is aware that Title 18, United States Code, Section 3742 and Title

       28, United States Code, Section 1291 afford the defendant the right to appeal the sentence imposed

       in this case. Acknowledging this, in exchange for the undertakings made by the Government in

       this plea agreement, the defendant hereby waives all rights .conferred by Sections 3742 and 1291

       to appeal any sentence imposed, including any restitution order, or to appeal the manner in which

       the sentence was imposed, unless the sentence exceeds the maximum permitted by statute or is the

                                                          7
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 8 of 15




       result of an upward departure and/or an upward variance from the advisory guideline range that

       the Court establishes at sentencing.    The defendant further understands that nothing in this

       agreement shall affect the Government's right and/or duty to appeal as set forth in Title 18, United

       States Code, Section 3742(b) and Title 28, United States Code, Section 1291. However, if the

       Government appeals the defendant's sentence pursuant to Sections 3742(b) and 1291, the

       defendant shall be released from the above waiver of appellate rights. By sigriing this agreement,

       the defendant acknowledges that the defendant has discussed the appeal waiver set forth in this

       agreement with the defendant's attorney.

              17.     The defendant is aware that the sentence has not yet been determined by the Court.

       The defendant also is aware that any estimate of the probable sentencing range or sentence that the

       defenclant may receive, whether that estimate comes from the defendant's attorney, the

       Government, or the probation office, is a prediction, not a promise, and is not binding on the

       Government, the probation office, or the Court. The defendant understands further that any

       recommendation that the Government makes to the Court as to sentencing, whether pursuant to

       this agreement or otherwise, is not binding on the Court and the Court may disregard the

       recommendation in its entirety. The defendant understands and acknowledges, as previously

       acknowledged in paragraph three above, that the defendant may not withdraw his plea based upon

       the Court's decision not to accept a sentencing recommendation made by the defendant, the

       Government, or a recommendation made jointly by the defendant and the Government.

              18.     The defendant recognizes that pleading guilty may have consequences with respect

       to the defendant's immigration status if the defendant is not a citizen of the United States. Under

       federal law, a broad range of crimes are removable offenses, including the offense to which the

       defendant is pleading guilty. Removal and other immigration consequences are the subject of a

                                                        8
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 9 of 15




       separate proceeding, however, and the defendant understands that no one, including the

       defendant's attorney or the Court, can predict to a certainty the effect of the defendant's conviction

       on the defendant's immigration status. The defendant nevertheless affirms that the defendant

       wants to plead guilty regardless of any immigration consequences that the defendant's plea may

       entail, even ifthe consequence is the defendant's automatic removal from the United States.

               19.    The Government and the defendant stipulate to and agree not to contest the facts in

       the Factual Proffer, and stipulate that such facts, in accordance with Rule ll(b)(3) of the Federal

       Rules of Criminal Procedure, provide a sufficient factual basis for the plea of guilty in this case.

       The defendant agrees that the facts in the Factual Proffer are true and correct to the best of the

       defendant's lmowledge. Because the factual basis set forth in the Factual Proffer has the limited

       purpose of supporting the defendant's guilty plea to the charge discussed in paragraph two, the

       factual basis set forth in the Factual Proffer does not purport to represent all facts and

       circumstances relating to the defendant's participation. Similarly, the factual basis in the Factual

       Proffer is not intended to identify all knowledge the defendant might have of the unlawful activity

       of other individuals.

              20.     In the event the defendant withdraws from this agreement prior to or after pleading

       guilty to the charge identified in paragraph two above, or should the Government, in its sole

       discretion, determine that the defendant has failed to fully comply with any of the terms of this

       plea agreement, the Government will be released from its obligations under this agreement, and

       the defendant agrees and understands that:

              (a) the defendant thereby waives any protection afforded by any proffer letter agreement

       between the parties, Section 1B 1.8 of the Sentencing Guidelines, Rule 11 (f) of the Federal Rules

       of Criminal Procedure, and Rule 410 ofthe Federal Rules ofEvidence;

                                                        9
    Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 10 of 15




                   (b) that any statements made by the defendant as part of the plea discussions, any

            debriefings or interviews, or in this agreement, whether made prior to or after the execution of this

            agreement, will be admissible against him without any limitation in any civil or criminal

            proceeding brought by the Government;

                   (c) the defendant's waiver of any defense based on the statute of limitations aiJ.d venue,

            including the waiver set forth in this agreement, or any defense based on the passage of time in
L


            filing an Indictment or Information, refen·ed to herein, shall remain in full force and effect;

                   (d) the defendant stipulates to the admissibility and authenticity, in any case brought by the

            United States in any way related to the facts referred to in this agreement, of any documents

            provided by the defendant or the defendant's representatives to any state of federal agency and/or

            the Government; and

                   (e) the defendant has adopted the entire factual basis as the defendant's statements, and the

            defendant has stipulated to ·the admissibility of the Factual Proffer in any case brought by the

            United States.




                                    [The remainder ofthis page was intentionally left blank.]


                                                             10
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 11 of 15




                21.     This is the entire agreement and understanding between the Government and the

         defendant. There are no other agr,eements, promises, representations, or understandings.



                                                             SANDRA MOSER
                                                             ACTING CHIEF, FRAUD SECTION
                                                             Criminal Division



        Date:   ~~~~~~~ IJ                             By:   z;~~
                                                             VANESSA sNYriE
                                                             PAUL HAYDEN
                                                             TRIAL ATTORNEYS


        Date: _1"2.._/_1_1__,/,___:J-6J_J1.
                                        _ __           By:


                                                             United States Attorney's Office
                                                             Southern District of Florida


       . Date: _ _)_z_,('-I_Cf-J{_2._o_l_~_ __
                                                             CURTIS MINER
                                                             ATTORNEY FOR DEFENDANT


        Date: _ _1z._._/_lc:t--1(1--ZA_._I_~
                                          _ __




                                                       11
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 12 of 15




                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                      Case N o . - - - - - - - - -


        UNITED STATES OF AMERICA

                                                                     FILED UNDER SEAL

        ALEJANDRO ANDRADE CEDENO,

               Defendant.
        --------------~/

                                                FACTUAL PROFFER

               The following Factual Proffer is incorporated by reference as part of the Plea Agreement

        between the United States Department ofJustice, Criminal Division, Fraud Section and the United

        States Attorney's Office for the Southern District ofFlorida (collectively, the "Government"), and

        the Defendant, Alejandro Andrade Cedeno (the "Defendant").            The Defendant agrees and

        stipulates that the following information is true and accurate. Had this matter proceeded to trial,

        the Defendant acknowledges that the Government would have proven, beyond a reasonable doubt,

        the facts alleged below and the charge and forfeiture allegations set forth in the criminal

        Information.

                  1.   Since approximately 2012, the Defendant maintained a residence in Wellington,

        Florida

               2.      The Oficina Nacional del Tesoro ("ONT") is the Venezuelan National Treasury.

               3.      In approximately 2007, the President of Venezuela appointed the Defendant to the

        position of Venezuelan National Treasurer.        The Defendant served in that position until
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 13 of 15




         approximately January 2011. During that time period, the Defendant was an official of the

         Venezuelan government and a department and agency of the Venezuelan government.

                4.       The ONT held U.S. dollar accounts at various financial institutions, including at

         least one in the United States.

                5.       To meet govemment obligations in bolivars in Venezuela, the ONT would sell

        bonds from its portfolio that were denominated in U.S. dollars or other currencies. The ONT

        could then choose to exchange the proceeds from these bond sales at the Venezuelan National

        Bank's established exchange rate or at a casa de bolsa, or brokerage house. The casas de bolsa

        had access to a parallel market for exchange, which provided a much higher exchange rate than

       ··the Venezuelan National Bank exchange rate. Because the casas de bolsa received this higher

        rate, the casas de bolsa could pay the ONT at a higher rate than the Venezuelan National Bank

        rate and still retain a substantial profit for itself.

                6.       By virtue of his official position as the Venezuelan National Treasurer, the

        Defendant had the ability to influence and decide which brokerage houses received government

        business to conduct these U.S. dollar to bolivar exchanges.'

                7.      From approximately 2007 through January 2011, the Defendant agreed to accept

        bribes from co-conspirators in exchange for selecting them to carry out the U.S. dollar to bolivar

        exchange process with the ONT, which allowed those co-conspirators to obtain substantial profits

        on the exchange transactions. The co-conspirators agreed to bribe the Defendant in order to

        secure improper advantages from the Defendant and secure additional profits in the business deals.

                8.       In furtherance of the scheme, one or more of the bribe payers made payments to the

        Defendant in the Southern District of Florida, and took acts and caused others to take acts in the



                                                                 2
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 14 of 15




        Southern District of Florida. The Defendant received the bribes from this arrangement through

        in or about November 2017.

                  9.    For example, in approximately 2010, Co-Conspirator 1 ("CC-1"), a Venezuelan

        national who maintains a residence in Miami, Florida, solicited the Defendant to permit a

        brokerage house that CC-1 operated to participate in the exchange process. CC-1 offered to pay

        the Defendant a share of any profit CC-1 made from the business deals. The Defendant accepted

        CC-1 's proposal and selected CC-1 's brokerage house to participate in the exchange process.

                  10.   In addition, one ot more of the bribe-paying co-conspirators used the proceeds of

        the corrupt scheme to engage in fmancial transactions in amounts greater than $10,000. For

        example, CC-1 purchased real estate, vehicles, and other luxury items for the Defendant and his

        family and friends, many of which involved transactions greater than $10,000. CC-I purchased

        items, including but not limited to, houses in Wellington, Florida; aircraft; and horses for the

        Defendant's use and benefit. CC-1 also controlled one or more bank accounts in Switzerland in

        which CC-I held proceeds of the scheme that could be made available to the Defendant. These

        accounts contained approximately $70 to $80 million, which CC-1 used to pay the Defendant's

        expenses. From approximately 2010 to in or about the present, when the Defendant requested

        items from CC-1, CC-1 would send money from his bank account in Switzerland to purchase items

        in the Southern District ofFlorida.

                  11.   For example, on or about the following dates, in furtherance of CC-1's money

        laundering conspiracy with the Defendant, CC-I caused four wire transfers in the following

        approximate amounts fi:om an account conh·olled by CC-1 at Compagnie Bancaire Helvetique in

        Switzerland to an account in the United States to purchase aircraft used by the Defendant, among

        others.

                                                        3
Case 9:17-cr-80242-RLR Document 9 Entered on FLSD Docket 01/04/2018 Page 15 of 15


   '   '.




                              a. May 30, 2012 - $6,300,084.80

                              b. June 11, 2012- $20,000,085.90

                              c. October 1, 2012- $1,000,086.80

                              d. October 17, 2012- $6,405,088.40
                                                                                                      I
                      12.     For example, on or about February 25, 2013, in furtherance of CC-l's money

            laundering conspiracy with the Defendant, CC-1 caused a wire transfer in the amount of

            approximately $150,000 from an account controlled by CC-1 at Compagnie Bancaire Helvetique

            in Switzerland to an account at Wells Fargo in Wellington, Florida, to pay expenses related to the

            Defendant's horses.

                                                                    SANDRA MOSER
                                                                    ACTING CHIEF, FRAUD SECTION
                                                                    Criminal Division



            Date:   _1~{,__._...,114---'/W~17-__          By:
                                                                    i;;~
                                                                    VANESSA SNi>'J:mR
                                                                    PAUL HAYDEN              ·
                                                                    TRIAL ATTORNEYS


                                                          By:


                                                                    United States Attorney's Office
                                                                    Southern District of Florida



                                                                    CURTIS MJNER
                                                                    ATTORNEY FOR DEFENDANT

                                                                           "'
                                                                  ~
                                                                  -. :..         ~.

            Date:      tt-( ff1. { t..t:J I~                       ~.-'
                                                                     \·' ' · \ '..::>
                                                                                  \
                                                           ~---M5BJ-A.bl_PRO ANDRADE CEDENO
                                                                    DEFENDANT

                                                            4
